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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION




NETCHOICE, LLC; and COMPUTER
& COMMUNICATIONS INDUSTRY
ASSOCIATION,
                                                Case No. 4:21-cv-0220-RH-MAF
        Plaintiffs,

v.

ASHLEY BROOKE MOODY, et al.,

        Defendants.




PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION
        TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
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                                INTRODUCTION

      For over two years, Florida principally defended S.B.7072 on the theory that

websites like Facebook and YouTube do not engage in First Amendment activity

when they decide what content to disseminate and how to arrange and organize it.

The Supreme Court has now laid that argument to rest. As Moody v. NetChoice

made clear, “the First Amendment offers protection when an entity engaging in

expressive activity, including compiling and curating others’ speech, is directed to

accommodate messages it would prefer to exclude.” 603 U.S. 707, 731 (2024). That

holding confirms that S.B.7072’s provisions are unconstitutional as applied to

websites operated by Plaintiffs’ members when they curate and disseminate

compilations of third-party speech posted on their services. While the Supreme

Court remanded for this Court to reconsider Plaintiffs’ facial challenge, each

challenged provision violates the First Amendment on its face because it

principally—indeed, for many if not all provisions, exclusively—regulates the

“heartland applications” as to which the Supreme Court has already held the law

unconstitutional. Id. at 726.

      With little left to say about the merits of Plaintiffs’ First Amendment claims,

Florida offers a slew of new threshold objections, attacking everything from the way

Plaintiffs organized their Amended Complaint to whether Plaintiffs have a cause of

action to enjoin the enforcement of an unconstitutional statute. Florida’s arguments
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are meritless. It makes zero sense to dismiss Plaintiffs’ complaint because its

discussion of Plaintiffs’ facial First Amendment claim incorporates allegations from

their as-applied First Amendment claim (as it obviously should), or because it

addresses nominally distinct provisions that operate hand-in-glove in one paragraph

instead of two. And the notion that trade organizations that represent the intended

targets of a speech restriction lack a cause of action to enjoin a blatant First

Amendment violation is foreclosed by a long line of precedent. E.g., Ex parte Young,

209 U.S. 123 (1908).

      Nor is there any merit to Florida’s claims that Plaintiffs lack associational

standing to pursue their First Amendment and §230 claims. None of Plaintiffs’

claims requires the participation of individual members; the state argues otherwise

only by “misconstru[ing] the nature of [the] claims.” UAW v. Brock, 477 U.S. 274,

287 (1986). Indeed, a challenge to the constitutionality of a statute that affects

multiple members of a trade association and seeks only injunctive relief is precisely

the sort of case where associational standing makes sense. At any rate, the Eleventh

Circuit has made clear that it is generally “premature” to dismiss an organization’s

claims “at the pleadings stage” based on questions about how much member-specific

proof may be needed. Borrero v. United Healthcare of N.Y., 610 F.3d 1296, 1306

n.3 (11th Cir. 2010). With rare exceptions, an organization’s “suit should not be

dismissed before it is given the opportunity to establish the alleged violations

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without significant individual participation.” Pa. Psychiatric Soc’y v. Green Spring

Health Servs., 280 F.3d 278, 286 (3d Cir. 2002). There is no reason to depart from

that settled approach here.

       Florida’s challenges to the merits of Plaintiffs’ §230 and vagueness claims

fare no better. Florida ignores that §230 broadly protects the editorial judgments of

the websites that S.B.7072 regulates, and its effort to clarify S.B.7072’s consistency

and post-prioritization requirements only underscores that they are impermissibly

vague.

       The Court should deny Florida’s motion.

                                 BACKGROUND

       A.    Factual Background
       NetChoice and CCIA are Internet trade associations whose members operate

a variety of popular websites on which users can share and interact with content,

including Facebook, Instagram, X, and YouTube.1 In May 2021, Florida enacted

S.B.7072, which aims to punish select websites for exercising their editorial

discretion over the content on their websites in ways the state disfavors. S.B.7072

imposes a slew of requirements that commandeer how covered websites exercise

editorial discretion:

    Consistency.       S.B.7072 requires a “social media platform” to “apply

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     While most members operate apps and other services in addition to websites,
this brief collectively refers to all their services as “websites.”
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      censorship, deplatforming, and shadow banning standards in a consistent
      manner among its users on the platform.” Fla. Stat. §501.2041(2)(b).

    Posts by or about political candidates. “A social media platform may not
     apply or use post-prioritization or shadow banning algorithms for content and
     material posted by or about … a candidate.” Id. §501.2041(2)(h).

    Deplatforming political candidates. S.B.7072 prohibits a “social media
     platform” from “willfully deplatform[ing] a candidate for office.” Id.
     §106.072(2).

    Journalistic enterprises. “A social media platform may not take any action
     to censor, deplatform, or shadow ban a journalistic enterprise based on the
     content of its publication or broadcast.” Id. §501.2041(2)(j).

    Rule changes. “A social media platform must inform each user about any
     changes to its user rules, terms, and agreements before implementing the
     changes and may not make changes more than once every 30 days.” Id.
     §501.2041(2)(c).

    User opt-out. A “social media platform” must allow users to opt out of its
     “post-prioritization” and “shadow banning” algorithms annually. Id.
     §501.2041(2)(f), (g). For users who opt out, material must instead be
     displayed in “sequential or chronological” order. Id.

      S.B.7072 also contains several provisions that compel websites to provide

information designed to facilitate enforcement of its restrictions on editorial

discretion:

    Detailed explanation. The detailed-explanation provision prohibits a “social
     media platform” from “deplatform[ing],” “censor[ing],” or “shadow
     ban[ning]” a user without “notifying the user who posted or attempted to post
     the content or material.” Id. §501.2041(2)(d). The notice must include both
     “a thorough rationale explaining the reason that the social media platform
     censored the user” and “a precise and thorough explanation of how the social
     media platform became aware of the censored content or material, including
     a thorough explanation of the algorithms used, if any, to identify or flag the

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         user’s content or material as objectionable.” Id. §501.2041(3).

    Standards. S.B.7072 requires a “social media platform” to “publish the
     standards, including detailed definitions, it uses or has used for determining
     how to censor, deplatform, and shadow ban.” Id. §501.2041(2)(a).

    View counts. S.B.7072 requires “social media platform[s]” to provide “a
     mechanism that allows a user to request the number of other individual
     platform participants who were provided or shown the user’s content or
     posts,” and provide “upon request” the “number of other individual platform
     participants who were provided or shown content or posts.”               Id.
     §501.2041(2)(e).

         B.      Procedural History

         Soon after Florida passed S.B.7072, Plaintiffs challenged the law in this

Court.        This Court preliminarily enjoined Florida from enforcing S.B.7072’s

principal provisions, holding that S.B.7072 likely violates the First Amendment and

that 47 U.S.C. §230 preempts some of its provisions. See NetChoice v. Moody, 546

F.Supp.3d 1082 (N.D. Fla. 2021). The Eleventh Circuit affirmed in substantial part,

agreeing with this Court’s conclusion that S.B.7072’s candidate, journalistic-

enterprise, consistency, 30-day restriction, user opt-out, and detailed-explanation

provisions likely violate the First Amendment. See NetChoice v. Att’y Gen., 34 F.4th

1196 (11th Cir. 2022).

         The Supreme Court vacated the Eleventh Circuit’s judgment on the ground

that it did not properly consider “the facial nature of NetChoice’s challenge.”

Moody, 603 U.S. at 717. The Court explained that the Eleventh Circuit “mainly

addressed what the parties had focused on” in their briefing and arguments below,
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i.e., the laws’ application to the “curated feeds offered by the largest and most

paradigmatic social-media platforms”—such as Facebook and YouTube. Id. at 717-

18. But the Court expressed concern that “the law[] might apply to, and differently

affect, other kinds of websites and apps.” Id. at 718. And in “a facial challenge, that

could well matter,” because “the question in such a case is whether a law’s

unconstitutional applications are substantial compared to its constitutional ones.” Id.

The Court acknowledged that “[m]aybe the parties treated the content-moderation

choices reflected in Facebook’s News Feed and YouTube’s homepage as the law[’s]

heartland application[] because they are the principal things regulated, and should

have just that weight in the facial analysis.” Id. at 726. But the Court was not certain

whether there may be “a sphere of other applications—and constitutional ones—that

would prevent the laws’ facial invalidation.” Id. at 726. Because those questions

were not the focus of the proceedings below, the Court vacated the Eleventh Circuit’s

decision and remanded the case for consideration of those issues.

      At the same time, the Court went out of its way to explain how the First

Amendment applies to the services “that were the focus of the proceedings below.”

Id. at 734. The Court explained that, when websites like YouTube and Facebook

“use their Standards and Guidelines to decide which third-party content those feeds

will display, or how the display will be ordered and organized, they are making

expressive choices” that “receive First Amendment protection.” Id. at 740. Thus,

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when laws like S.B.7072 are applied “to prevent Facebook (or YouTube) from using

its content-moderation standards to remove, alter, organize, prioritize, or disclaim

posts in its News Feed (or homepage),” they “prevent[] exactly the kind of editorial

judgments this Court has previously held to receive First Amendment protection.”

Id. at 718. And that infringement of First Amendment rights cannot be justified as

necessary “to balance the mix of speech on Facebook’s News Feed and similar

platforms.” Id. After all, the “government may not, in supposed pursuit of better

expressive balance, alter a private speaker’s own editorial choices about the mix of

speech it wants to convey.” Id. at 734.

      Following remand, Plaintiffs filed an Amended Complaint. Count I alleges

that each of the challenged provisions of S.B.7072 violates the First Amendment “as

applied to websites operated by [Plaintiffs’] members when those websites curate

and disseminate collections of third-party speech posted on their services.”

Am.Comp.¶55. Count II alleges that each challenged provision violates the First

Amendment on its face because the core, if not sole, application of each provision is

to regulate the editorial judgments of websites when they are curating and

disseminating collections of third-party speech. Am.Compl.¶99. Count III alleges

that S.B.7072’s consistency provision and prohibition on applying “post-

prioritization” and “shadow banning algorithms” to content “by or about” a political

“candidate” are unconstitutionally vague. Am.Compl.¶¶109-13. And Count IV

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alleges that 47 U.S.C. §230 preempts several of S.B.7072’s provisions.

Am.Compl.¶¶114-28.

        The Amended Complaint seeks a declaration that each challenged provision

is unconstitutional on its face, or, in the alternative, “as applied to websites operated

by [Plaintiffs’] members when they curate and disseminate collections of third-party

speech posted on their services.” Am.Compl.¶129. The Amended Complaint also

seeks a declaration that 47 U.S.C. §230 preempts the challenged provisions, and a

preliminary and permanent injunction enjoining Defendants from enforcing them

against services operated by Plaintiffs’ members covered by S.B.7072.

Am.Compl.¶¶130-34.

                                    ARGUMENT

I.      The Amended Complaint Is Not A “Shotgun Pleading.”

        Florida begins by claiming the Amended Complaint is a “shotgun pleading.”

MTD.10-11. That is frivolous. A “shotgun pleading” is a pleading that violates “the

spirit, if not the letter” of Rules 8(a)(2) and 10(b) by failing “to give the defendants

adequate notice of the claims against them and the grounds upon which each claim

rests.” Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1320-23 (11th

Cir. 2015). Plaintiffs’ 70-page complaint is anything but that. Although Florida

nitpicks aspects of the Amended Complaint, it does not (and cannot) claim that it

lacks notice of the claims against it or the grounds on which they rest. Indeed,


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Florida’s own motion confirms that the Amended Complaint is more than

“informative enough” for it to respond. Id. at 1326.

      Florida’s quibbles do not undermine that conclusion. Florida complains that

Count II (Plaintiffs’ facial First Amendment challenge) incorporates the allegations

in Count I (Plaintiffs’ as-applied First Amendment challenge). MTD.10. But

explaining why S.B.7072 violates the First Amendment as applied to Plaintiffs’

members when they curate and disseminate third-party speech posted on their

services helps inform why “a substantial number” of S.B.7072’s “applications are

unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”

Moody, 603 U.S. at 723. It would make little sense for Count II not to incorporate

Count I, as Count II would otherwise have to reproduce all the same discussion of

those applications found in Count I.

      Florida likewise complains that Count IV incorporates paragraph 52.

MTD.10. But paragraph 52 is part of the background section describing S.B.7072’s

requirements. Am.Compl.¶¶42-53. It again would make little sense for Count IV

not to incorporate that description. Florida also criticizes Plaintiffs for grouping

their challenges to S.B.7072’s individual provisions by challenge (i.e., First

Amendment, Due Process, etc.) instead of provision (i.e., consistency provision,

journalistic-enterprise provision, etc.). MTD.10-11. But Florida does not argue that

this commonplace organizational choice prevented it from understanding the claims.

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Florida is aware of what challenges Plaintiffs are bringing to which provisions. The

pleading rules require nothing more.

      Florida’s remaining criticisms are even more trivial.         It complains that

paragraph 69 attacks “multiple, distinct statutory provisions, MTD.11, but that is

because those provisions operate hand-in-glove to restrict editorial discretion. They

even cross reference each other. Section 501.2041(2)(g) requires covered websites

to “provide users with an annual notice on the use of algorithms for post-

prioritization and shadow banning and reoffer annually the opt-out opportunity in

subparagraph (f)2,” and §501.2041(2)(f)2 in turn requires them to “[a]llow a user to

opt out of post-prioritization and shadow banning algorithm categories to allow

sequential or chronological posts and content.” It would therefore impede clarity to

challenge one without referencing the other. Finally, Florida claims that Plaintiffs

failed to specify “which of the defendants each claim is brought against.” MTD.11.

But it acknowledges in the very next sentence that the Amended Complaint identifies

which defendants are responsible for enforcing which provisions, which is all that is

needed to answer that question.




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II.      Plaintiffs Have Associational Standing.

         Florida’s standing argument fares no better.

         A.    Plaintiffs Have Associational Standing to Bring Their First
               Amendment Claims.

         To invoke associational standing, an organization must demonstrate that (1) at

least one of its members has standing to sue; (2) the interests it seeks to protect are

germane to its purpose; and (3) neither the claim asserted nor the relief requested

requires the participation of individual members. See Hunt v. Wash. State Apple

Advert. Comm’n, 432 U.S. 333, 343 (1977). Florida does not dispute that some

NetChoice and CCIA members have standing to bring First Amendment claims. See

Am.Compl.¶¶13-15. Nor does it deny that the interests Plaintiffs seek to protect are

germane to their purposes. See id. Florida instead argues that Plaintiffs lack

associational standing to bring their First Amendment claims because resolving

those claims requires participation by individual members. That argument is flawed

at every turn.

         As the Supreme Court has explained, the third prong of the associational

standing test is “prudential,” not constitutional, and is “best seen as focusing

on … matters of administrative convenience and efficiency.” United Food & Com.

Workers Union v. Brown Grp., 517 U.S. 544, 556-57 (1996). “[D]istrict courts

possess a degree of discretion in applying it.” All. for Open Soc’y Int’l v. USAID,

651 F.3d 218, 229 (2d Cir. 2011). And they often permit associational standing even

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when some member participation is needed, particularly when it serves “judicial

economy.” Id. Indeed, courts have expressly rejected the idea that “the Supreme

Court intended to limit representational standing to cases in which it would not be

necessary to take any evidence from individual members.” Retired Chi. Police Ass’n

v. City of Chicago, 7 F.3d 584, 601-02 (7th Cir. 1993). As “long as resolution of the

claims benefits the association’s members and the claims can be proven by evidence

from representative injured members, without a fact-intensive-individual inquiry, the

participation of those individual members will not thwart associational standing.”

Ass’n of Am. Physicians & Surgeons v. Tex. Med. Bd., 627 F.3d 547, 552 (5th Cir.

2010). As the Eleventh Circuit has explained, the question is whether resolving the

organization’s claims will “require excessive participation by individual members.”

Borrero, 610 F.3d at 1306. So long as the claims “can be proved with the limited

participation,” the “organization has standing to assert them.” Id.

      The Eleventh Circuit has made clear, moreover, that it is typically “premature”

to dismiss an organization’s claims “at the pleadings stage” based on arguments

about member-specific proof. Id. at 1306 n.3. After all, “should the actual litigation

of the … claims involve excessive individual participation, the district court retains

discretion to consider the associations’ standing at that later time.” Id. So with rare

exceptions, an organization’s “suit should not be dismissed before it is given the




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opportunity to establish the alleged violations without significant individual

participation.” Pa. Psychiatric, 280 F.3d at 286.

      This case is not that rare exception. Plaintiffs seek forward-looking injunctive

and declaratory relief that a state law is unconstitutional—not damages or any other

remedy that requires individualized participation.       In such cases, “individual

participation of the organization’s members is ‘not normally necessary,’” Fla. State

Conf. of NAACP v. Browning, 522 F.3d 1153, 1160 (11th Cir. 2008), as it “can

reasonably be supposed that the remedy, if granted, will inure to the benefit of those

members of the association actually injured,” All. of Auto. Mfrs. v. Jones, 897

F.Supp.2d 1241, 1254 (N.D. Fla. 2012). That is precisely why the “Supreme Court

has repeatedly held that requests by an association for declaratory and injunctive

relief do not require participation by individual association members.” Hosp.

Council of W. Pa. v. City of Pittsburgh, 949 F.2d 83, 89 (3d Cir. 1991) (Alito, J.);

accord Greater Birmingham Ministries v. Sec’y of Ala., 992 F.3d 1299, 1316 & n. 29

(11th Cir. 2021) (“prospective relief weighed in favor of finding … associational

standing”).

      That is certainly true of the claims here. Plaintiffs’ as-applied claim alleges

that “[e]ach of the challenged provisions of S.B.7072 violates the First Amendment

as applied to websites operated by [Plaintiffs’] members when those websites curate

and disseminate collections of third-party speech posted on their services,”

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Am.Compl.¶55—i.e., when they engage in activity that the Supreme Court has now

held is protected by the First Amendment. As the Court explained,“[d]eciding on

the third-party speech that will be included in or excluded from a compilation—and

then organizing and presenting the included items—is expressive activity.” Moody,

603 U.S. at 731. And “[w]hen the government interferes with such editorial

choices—say, by ordering the excluded to be included,” it “confronts the First

Amendment.” Id. at 731-32.

      The only member-specific information this Court needs to resolve that as-

applied claim is whether Plaintiffs have members that engage in the protected

activity of employing editorial standards about whether and how they will

disseminate third-party content. It is not even clear that Florida disputes that

proposition, but it certainly will not require “excessive” member participation to

establish. And as long as Plaintiffs have members who engage in that protected

activity, then the challenged provisions intrude on those members’ First Amendment

rights, regardless of whether they do or do not intrude on those members’ rights

when they may be engaged in other activities. This Court thus does not need to

master the “nuances” of every member’s “algorithms” or the “specifics of each

platform’s operations,” MTD.14-15, to determine whether S.B.7072 implicates the

First Amendment when applied in the specific context of “when those websites




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curate and disseminate collections of third-party speech posted on their services,”

Am.Compl.¶55.

      Nor does the Court need “excessive” member-specific information to

determine whether S.B.7072 can survive First Amendment scrutiny as applied to

that protected conduct. MTD.15-16. Whether strict or intermediate scrutiny applies

turns on whether S.B.7072 is content-, speaker-, and viewpoint-based—not on

details about Plaintiffs’ members. And the Court needs no member-specific facts to

determine that Florida has not identified any legitimate (let alone significant or

compelling) justification for interfering with protected editorial judgments. After

all, Florida has principally justified S.B.7072 based on its interest in ensuring that

the public has equal access to competing viewpoints. But “a State may not interfere

with private actors’ speech to advance its own vision of ideological balance.”

Moody, 603 U.S. at 741.

      As for Plaintiffs’ facial claim, that claim alleges that each challenged

provision is unconstitutional on its face because its core (if not sole) application is

to override editorial choices when websites curate and disseminate collections of

third-party speech posted on their services. Am.Compl.¶99. “The first step in the

proper facial analysis is to assess the state law[’s] scope”—i.e., to determine “[w]hat

activities, by what actors” S.B.7072 “prohibit[s] or otherwise regulate[s].” Moody,

603 U.S. at 724. That is principally a question of statutory interpretation. The

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Supreme Court remanded the case because it was uncertain whether “the content-

moderation choices reflected in Facebook’s News Feed and YouTube’s homepage”

“are the principal things regulated,” or if S.B.7072 reaches entirely different kinds

of conduct. Id. at 726. If it is the former, the Court’s opinion largely resolves this

case.

        The Amended Complaint lays out why it is the former. As it explains, “all

manner of contextual clues confirm that S.B.7072’s definition of ‘social media

platform’ is ‘limited to providers of social media within the common

understanding,’” Am.Compl.¶90 (quoting NetChoice, 546 F.Supp.3d at 1086)—e.g.,

“websites and applications where users share content and interact with content

shared by others,” not “ride-sharing services, payment services, direct messaging

apps, or email providers,” Am.Compl.¶92. Even if the definition applied more

broadly, moreover, the challenged provisions themselves apply exclusively, or at the

very least predominantly, when websites engage in the common social-media

function of “curating and disseminating collections of third-party speech posted on

their services.” Am.Compl.¶¶99-108.

        Whether or how the First Amendment may apply to Plaintiffs’ members’ other

activities is largely beside the point. If (as Plaintiffs have alleged) the challenged

provisions apply only, or least overwhelmingly, when websites curate and

disseminate collections of third-party speech posted on their services, then they are

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facially unconstitutional regardless of whether the state may be able to conjure up a

handful of more difficult hypotheticals. After all, “[i]n determining whether a law

is facially invalid, [courts] must be careful not to go beyond the statute’s facial

requirements and speculate about ‘hypothetical’ or ‘imaginary’ cases.” Wash. State

Grange v. Wash. State Republican Party, 552 U.S. 442, 449-50 (2008). But even if

the state could hypothesize some conceivable legitimate applications of some

provisions, it would not require excessive member participation for the Court to

decide whether those rare hypothetical applications outweigh the “substantial

amount of protected speech” that the law’s “heartland applications” restrict. Moody,

603 U.S. at 744.

      Rather than confront the allegations and arguments actually laid out in the

complaint, Florida proceeds on the assumption that this case cannot be resolved

without far-reaching fact development into every activity of each and every one of

Plaintiffs’ members (or at least those who meet S.B.7072’s user and revenue

thresholds). But it fails to explain why that is so.

      The Amended Complaint details why neither the term “social media platform”

nor the challenged provisions themselves covers anything other than the “heartland

applications” of S.B.7072 that the Supreme Court addressed. Am.Compl.¶¶88-108.

While Florida briefly takes issue with Plaintiffs’ proffered definition of “social

media platform,” MTD.21, it does not seriously engage with any of their textual and

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contextual arguments about how to interpret it. It instead just woodenly insists that

the “statutory definition controls,” without explaining exactly what it thinks that

definition covers. MTD.22. And Florida does not engage at all with Plaintiffs’

lengthy argument as to why the challenged provisions apply only when websites are

curating and disseminating collections of third-party speech posted on their services.

Am.Compl.¶¶63-72, 100-08.2 To the contrary, Florida tries to explain away its own

past representations about S.B.7072’s scope as reflecting its “recogni[tion] that

S.B.7072’s provisions do not reach all functions on every covered platform.”

MTD.23.n.3.

       As the Supreme Court has made clear, parties may not contest associational

standing by “misconstru[ing] the nature of [the plaintiffs’] claims.” Brock, 477 U.S.

at 287. Florida must take Plaintiffs’ claims as they are and give Plaintiffs every

“opportunity to establish” them “without significant individual participation.” Pa.

Psychiatric, 280 F.3d at 286. The complaint explains what functions Plaintiffs think

the challenged provisions regulate. If Plaintiffs are right, then hardly any member-

specific information is needed to resolve this case. If Florida thinks its law reaches

something more, then it is incumbent on the state to explain what more it reaches

and why. It is, after all, Florida’s law. Florida cannot avoid defending that law by


   2
     By not meaningfully addressing what it thinks S.B.7072 covers in its motion,
Florida cannot do so in reply. See United States v. Levy, 379 F.3d 1241, 1244 (11th
Cir. 2004).
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refusing to take any position on what it regulates, let alone by insisting that members

must participate to address fact questions it is not even willing to definitively say

matter.

      The cases that Florida cites are therefore inapposite. The challenges brought

in those cases required far greater member-specific proof than Plaintiffs’ challenges

require. In Harris v. McRae, the claims required the plaintiffs to show that each

member had been coerced “in the practice of their religion,” which depended on “the

conscience of the individual before God.” 448 U.S. 297, 321 & n.24 (1980). In

Georgia Cemetery Association v. Cox, the claim required the plaintiffs to show the

specific economic impact the state action had on each member. 353 F.3d 1319, 1322

(11th Cir. 2003). And in Free Speech Coalition v. Attorney General, the association

attempted to bring a claim on behalf of “about 800 members” of the adult film

industry “ranging from directors, producers, writers, cameramen, and lighting

technicians, to sellers of sexually explicit depictions farther down the ‘stream of

commerce.’” 974 F.3d 408, 422 (3d Cir. 2020).

      Here, by contrast, Plaintiffs assert that S.B.7072 is unconstitutional on its face

and as applied to websites operated by Plaintiffs’ members “when those websites

curate and disseminate collections of third-party speech posted on their services.”




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Am.Compl.¶55.3 No one disputes that some members curate and disseminate third-

party speech. And no individualized factual inquiry is necessary to establish that the

challenged provisions unconstitutionally burden protected expression in virtually all

their applications. There is thus no need to develop the kind of member-specific

facts at issue in the cases Florida invokes.4




   3
     That suffices to distinguish this case from NetChoice v. Bonta, 2024 WL
5264045 (N.D. Cal. Dec. 31, 2024). There, the district court found that NetChoice
lacked associational standing to seek a preliminary injunction as applied to “five
members” because NetChoice’s challenge to the specific California law at issue
required “factual inquiries into … how each of those members’ feeds work” to
determine whether those feeds are “expressive.” Id. at *18. That decision is wrong,
and NetChoice is currently appealing it. It is also distinguishable. Here, no factual
inquiry into any particular feed is necessary to resolve Plaintiffs’ as-applied
challenge for the additional reason that Plaintiffs have limited their as-applied
challenge to websites operated by Plaintiffs’ members “when those websites curate
and disseminate collections of third-party speech posted on their services.”
Am.Compl.¶55.
   4
     The state’s “overbreadth” argument, MTD.18-19, once again “misconstrue[s]
the nature of [Plaintiffs’] claims.” Brock, 477 U.S. at 287. Plaintiffs are not invoking
the strand of “overbreadth” doctrine under which “persons who are themselves
unharmed by the defect in a statute nevertheless … challenge that statute on the
ground that it may conceivably be applied unconstitutionally to others.” Bd. of Trs.
of State Univ. of N.Y. v. Fox, 492 U.S. 469, 484 (1989). Plaintiffs allege that
S.B.7072 is unconstitutional as applied to their members when their “websites curate
and disseminate collections of third-party speech posted on their services.”
Am.Compl.¶¶55, 100-08. The Amended Complaint includes a facial challenge
because that infirmity dooms all (or substantially all) applications of the challenged
provisions, not because Plaintiffs maintain that the law would still be facially
unconstitutional even if it were constitutional as applied to all their members.
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      B.     Plaintiffs Have Associational Standing to Bring Their §230 Claim.

      1. For similar reasons, resolving Plaintiffs’ §230 claim does not require

“excessive participation” by members. Plaintiffs argue that §230(c)(1) preempts

several provisions of S.B.7072 because those provisions “seek[] to hold a service

provider liable for its exercise of a publisher’s traditional editorial functions—such

as deciding whether to publish, withdraw, postpone or alter content.” Zeran v. Am.

Online, 129 F.3d 327, 330 (4th Cir. 1997). The complaint also asserts that §230(c)(2)

preempts the same provisions because they impose liability on websites for

“action[s] voluntarily taken in good faith to restrict access to or availability of

material that the provider or user considers to be … otherwise objectionable.” 47

U.S.C. §230(c)(2)(A).

      Resolving those claims turns primarily on the statutory text. By their terms,

several S.B.7072 provisions restrict the ability of “social media platforms” to

“censor,” “deplatform,” “shadow ban,” and apply “post-prioritization” algorithms

to, e.g., “content or material posted by a user,” Fla. Stat. §5041(1).

Am.Compl.¶¶123-28. This Court need not know precisely how or how often

individual members engage in those activities to conclude that the challenged

provisions seek to impose liability on websites for their “exercise of a publisher’s

traditional editorial functions,” Zeran, 129 F.3d at 330, and their “good faith”

decisions to “restrict access to or availability of … otherwise objectionable” content,


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47 U.S.C. §230(c)(2)(A). It just needs to know that at least some members engage

in those activities, which Florida does not and cannot deny is true.

      Florida claims that §230 does not preempt laws that “affect[] platforms’

hosting, recommendation, disclosure, and content decisions,” but rather only

“immunizes platforms from claims based on content provided by another.”

MTD.20. That argument “conflates the merits of the case … with standing.”

Wooden v. Bd. of Regents, 247 F.3d 1262, 1281 (11th Cir. 2001). It is also beside the

point. As Florida admits elsewhere, MTD.23.n.3, most of the challenged provisions

apply to decisions to curate and disseminate “content or material posted by a user.”

Fla. Stat. §5041(1)(b). In all events, courts have repeatedly concluded that §230

applies to all manner of decisions about third-party content. E.g., Murphy v. Twitter,

274 Cal.Rptr.3d 360, 370-71 (Cal. Ct. App. 2021).

      Florida insists that “Section 230 likely applies quite differently, if at all,” to

“platforms like Uber, Gmail, and Yahoo.” MTD.21. But whether the challenged

provisions impose liability on Uber, Gmail, and Yahoo for their “exercise of a

publisher’s traditional editorial functions,” or their “good faith” decisions to “restrict

access to or availability of … otherwise objectionable” content, turns on the text of

S.B.7072—not any facts about Uber, Gmail, or Yahoo, much less any facts that

would require their participation as parties. Am.Compl.¶¶123-28.




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      2. Shifting gears, Florida argues that Plaintiffs lack associational standing to

assert their §230 arguments because no member has Article III standing to assert

those arguments in its own right. That argument is nothing short of bizarre. Standing

requires: an injury in fact that (1) is concrete, particularized, and actual or imminent;

(2) is traceable to the challenged action of the defendant; and (3) would likely be

redressed by judicial relief. See TransUnion v. Ramirez, 594 U.S. 413, 423 (2021).

Plaintiffs plausibly allege that S.B.7072 directly regulates and imposes compliance

costs on some NetChoice and CCIA members. Am.Compl.¶¶13-16. That injury is

“imminent”; after all, Florida “has not suggested that the … law will not be

enforced,” and there is “no reason to assume otherwise.” Virginia v. Am. Booksellers’

Ass’n, 484 U.S. 383, 393 (1988). The injury is directly traceable to S.B.7072. And

an order enjoining state officials from enforcing S.B.7072 will redress it. Article III

requires nothing more.

      Indeed, Florida does not dispute that some of Plaintiffs’ members have Article

III standing to pursue their First Amendment and Due Process claims. It just insists

that no member has Article III standing to make the §230 arguments because

S.B.7072 forbids Florida from “tak[ing] enforcement action that is ‘inconsistent

with … 47 U.S.C. s.230(e)(3).’” MTD.26 (quoting Fla. Stat. §501.2041(9)). But

that again “conflate[s] the standing and merits inquiries,” Gardner v. Mutz, 962 F.3d

1329, 1337 (11th Cir. 2020), and begs the question. By contending that state officials

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will enforce S.B.7072 consistent with §230, Florida presupposes that S.B.7072 can

be enforced consistent with §230—a conclusion about the merits of Plaintiffs’ §230

argument. But “in reviewing the standing question, the court must be careful not to

decide the questions on the merits for or against the plaintiff, and must therefore

assume that on the merits the plaintiffs would be successful in their claims.”

Culverhouse v. Paulson & Co., 813 F.3d 991, 994 (11th Cir. 2016).

      At any rate, states cannot evade pre-enforcement review simply by including

a general provision prohibiting the statute from being enforced illegally. Were it

otherwise, states could always evade affirmative judicial review, even of blatantly

unconstitutional statutes, simply by adding a proviso requiring the statute to be

interpreted consistently with federal law. That result would be particularly untenable

here, where S.B.7072’s whole point is to regulate websites’ decisions about which

third-party content to display—exactly what §230 is designed to protect. That

Florida might lose an enforcement action where S.B.7072’s application conflicts

with §230 does not mean Plaintiffs’ members lack a credible fear of facing such an

action—which is all that they need to have standing to bring this claim. In short,

S.B.7072’s carveout neither defeats standing nor insulates it from judicial review.

      C.     Florida’s Other Associational Standing Arguments Lack Merit.

      Finally, Florida argues that Plaintiffs lack associational standing to raise their

First Amendment and §230 arguments “because the claims raise an


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‘intraorganizational conflict of interest.’” MTD.23. Florida does not cite a single

case that denies associational standing on that ground.5 For good reason: As the

D.C. Circuit has explained, the Supreme Court has already “decided” that

“associational standing does not necessarily depend upon harmony of member

interests.” Nat’l Mar. Union of Am. v. Commander, Mil. Sealift Command, 824 F.2d

1228, 1232-33 (D.C. Cir. 1987) (citing Brock, 477 U.S. at 288-90); see also

Associated Gen. Contractors of Cal. v. Coal. for Econ. Equity, 950 F.2d 1401, 1409

(9th Cir. 1991) (“[A]n organization’s internal conflicts properly should be resolved

through its own internal procedures, not through limitations on standing.”). That

precedent governs here.

       Even if “interorganizational conflict” could in extreme cases justify denying

associational standing, no such conflict exists here. Florida manufactures a conflict

on the theory that the “First Amendment protects a platform’s own expressive

activity, but Section 230 does ‘not immunize[]’ a platform if it is ‘sued for [its] own

expressive activity.’” MTD.24. On that basis, Florida claims that some members

like “Etsy” have an interest in “expansive First Amendment protection” (and



   5
     Some courts have “recognized that an intraorganizational conflict of interest
may defeat” associational standing, see Fla. Auto. Dealers Ass’n v. Ford Motor Co.,
2024 WL 836384, at *2 (N.D. Fla. 2024) (citing cases), but only when “the
intraorganizational conflict was extreme”—i.e., “some of the association’s members
were plaintiffs, and others were defendants,” id. at *2 (citing Sw. Suburban Bd. v.
Beverly Area Plan., 830 F.2d 1374 (7th Cir. 1987)).
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therefore narrow §230 immunity), while others like “Meta” have an interest in

“expansive Section 230 immunity” (and therefore narrow First Amendment

protection).

      That argument “sounds absurd, because it is.” Sekhar v. United States, 570

U.S. 729, 738 (2013). As Plaintiffs have repeatedly explained, there is no “conflict”

between expansive First Amendment protections and broad §230 protections. E.g.,

NetChoice & CCIA Br. at 33-34, NetChoice v. Paxton, No. 22-555 (U.S. Nov. 30,

2023); CCIA & NetChoice Amicus Br. at 7-11, Anderson v. TikTok., No. 22-3061

(3d Cir. Oct. 8, 2024). That is why Plaintiffs have repeatedly advocated for both.

E.g., CCIA & NetChoice Amicus Br. at 22-24, Gonzalez v. Google, 598 U.S. 617

(2023) (No. 21-1333). Recognizing that websites engage in First Amendment-

protected editorial judgments in deciding whether and how to display third-party

speech does not somehow turn that third-party speech into the website’s own speech,

let alone eliminate §230’s protections. To the contrary, Congress enacted §230 to

encourage websites to exclude problematic third-party content by effectively

overruling a case that held that, so long as a website exercised “editorial control over

the content of messages posted on its” site, it could be held liable for publishing the

third-party speech that escaped the editor’s pen. Stratton Oakmont v. Prodigy, 1995

WL 323710, at *2 (N.Y. Sup. Ct. May 24, 1995). If Florida were correct that




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websites lose §230 protection whenever they exercise “editorial judgment” over the

third-party content on their services, then §230 accomplished nothing.

III.   The Amended Complaint States A Claim.

       A.    Plaintiffs Have a Cause of Action to Seek Declaratory and
             Injunctive Relief for Violations of Their Members’ Rights.

       1. Florida next contends the complaint must be dismissed because “Plaintiffs

lack a cause of action under Section 1983.” MTD.28. At the outset, Florida ignores

that Plaintiffs assert claims not just under §1983, but under the Court’s equitable

powers too. Am.Compl.¶21 (citing Ex parte Young, 209 U.S. 123 (1908)). Plaintiffs

thus “do not need a statutory cause of action” to obtain “declaratory and injunctive

relief” against Defendants in their official capacities, as “the judge-made cause of

action recognized in Ex parte Young … permits courts of equity to enjoin

enforcement of state statutes that violate the Constitution or conflict with other

federal laws.” Moore v. Urquhart, 899 F.3d 1094, 1103 (9th Cir. 2018) (citing

Armstrong v. Exceptional Child Ctr., 575 U.S. 320, 327 (2015)).

       In all events, Florida’s §1983 argument is wrong. Section 1983 provides that

state actors who cause “the deprivation of any rights, privileges, or immunities

secured by the Constitution and laws, shall be liable to the party injured in an action

at law, suit in equity, or other proper proceeding for redress.” 42 U.S.C. §1983.

Florida insists that §1983 is available only to the parties whose rights were

violated—i.e., Plaintiffs’ members. MTD.28-29. But the text of §1983 says no such

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thing; it provides only that liability or relief must flow from the state actors sued to

the “party injured.” Nothing in §1983 forecloses suits by organizations on behalf of

their members seeking relief for violations of their members’ constitutional or

statutory rights. As the Fifth Circuit put it in rejecting the same argument: “Section

1983 is an appropriate vehicle for third-party claims.” Vote.Org v. Callanen, 89 F.4th

459, 473 (5th Cir. 2023). Examples abound. See id. (collecting cases); Warth v.

Seldin, 422 U.S. 490, 515-16 (1975); Brown v. Ent. Merchs. Ass’n, 564 U.S. 786,

789-80 (2011); Am. Booksellers, 484 U.S. at 393.

      2. Florida maintains that even if Plaintiffs could assert their members’ rights

under §1983, they cannot enforce §230 under §1983. Florida is wrong again.

Section 1983 provides a cause of action for “the deprivation of any rights, privileges,

or immunities secured by the Constitution and laws.” 42 U.S.C. §1983. As other

courts have recognized, §230 creates both “rights” and “immunities” that may be

enforced under §1983. Voicenet Commc’ns v. Corbett, 2006 WL 2506318, at *2

(E.D. Pa. Aug. 30, 2006).

      Starting with “immunities,” Florida acknowledges that §230 “exempt[s]”

certain parties “from liability” for certain lawsuits—the hallmark of “immunity.”

MTD.31; see also Almeida v. Amazon.com, 456 F.3d 1316, 1321 (11th Cir. 2006)

(describing §230 as an “immunity”). Indeed, it spends several pages affirmatively




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arguing that §230 confers an “immunity.” MTD.28-32. It just uses an ellipses to

omit “immunities” from the list of things §1983 protects. MTD.28.

      While that alone suffices to defeat Florida’s argument, §230 confers “rights”

too. Whether a statute confers “rights” enforceable under §1983 turns on whether it

uses “rights-creating” language. Gonzaga Univ. v. Doe, 536 U.S. 273, 283-84

(2002). “For a statute to create such private rights, its text must be ‘phrased in terms

of the persons benefited.’” Id. at 284. For example, a statute that says “[n]o person

in the United States shall … be subjected to discrimination” on the basis of race

creates an individual right to be free from race discrimination. Cannon v. Univ. of

Chi., 441 U.S. 677, 685 n.5, 688-89 (1979). Likewise, a statute that requires nursing

homes to “protect and promote … [t]he right to be free from … any physical or

chemical restraints imposed for purposes [other than] … treat[ing] the resident’s

medical symptoms” creates a right to be free from such restraints. See Health &

Hosp. Corp. of Marion Cnty. v. Talevski, 599 U.S. 166, 184 (2023).

      Like the statutes in Cannon and Talevski, §230 speaks “in terms of the persons

benefited,” and has an “unmistakable focus on the benefited class.” Id. at 186.

Section 230(c)(1) specifies that “[n]o provider or user of an interactive computer

service shall be treated as the publisher or speaker of any information provided by

another information content provider.” And §230(c)(2)(A) provides that “[n]o

provider or user of an interactive computer service shall be held liable on account

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of … any action” to remove objectionable content in good faith. Section 230 thus

unmistakably confers rights upon providers and users of interactive computer

services.

      3. Florida argues that “[e]ven if Section 230 clearly created individual rights

for platforms, Congress did not intend that Section 1983 ‘be available to enforce

those rights.’” MTD.30. But “[o]nce a plaintiff demonstrates that a statute confers

an individual right” (or immunity), the right (or immunity) “is presumptively

enforceable by §1983.” Gonzaga, 536 U.S. at 284. While Florida “may rebut this

presumption by showing that Congress ‘specifically foreclosed a remedy under

§1983,’” such as by “creating a comprehensive enforcement scheme that is

incompatible with individual enforcement under §1983,” id. at 284 n.4, it has not

come close to doing so. Florida principally argues that “Section 230 contains its

own comprehensive enforcement mechanism”—namely, “an immunity affirmative

defense that is enforceable ‘within the confines of a preexisting proceeding.’”

MTD.31-32. But virtually every preemption provision in the U.S. Code can be

invoked “as a defense” in a “preexisting proceeding,” yet courts have never

understood that to suffice to displace the remedy provided by §1983 (or Ex parte

Young). E.g., Am. Airlines v. Wolens, 513 U.S. 219 (1995) (defensive use of the

express-preemption provision); Morales v. Trans World Airlines, 504 U.S. 374

(1992) (offensive use of same provision). Indeed, parties have repeatedly sued to

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enjoin state officials from enforcing state laws preempted by §230, and no court has

ever suggested such suits are implicitly precluded simply because §230 can be

invoked defensively too. E.g., Backpage.com v. Cooper, 939 F.Supp.2d 805, 817

(M.D. Tenn. 2013). Florida identifies no reason for this Court to depart from that

consensus.

      B.       Plaintiffs Plausibly Allege §230 and Vagueness Claims.

      1. When Florida finally turns to the merits of Plaintiffs’ claims, it has little to

say. Although the Amended Complaint alleges that both §230(c)(1) and (c)(2)

expressly preempt multiple provisions of S.B.7072, see Am.Compl.¶¶123-28,

Florida ignores (c)(1) altogether. MTD.32-34. That is unsurprising. It is hard to

imagine a scenario where, e.g., punishing a website for applying “post-

prioritization” and “shadow banning” algorithms does not “seek[] to hold a service

provider liable for its exercise of a publisher’s traditional editorial functions.”

Zeran, 129 F.3d at 330; see also Am.Compl.¶¶123-28 (similar analysis for other

provisions).

      Likewise, though the Amended Complaint alleges that §230 impliedly

preempts various provisions of S.B.7072, Florida has nothing to say about that

argument either. Am.Compl.¶¶117-28. That too is unsurprising. Punishing websites

for how they filter and organize content on their services poses an obvious obstacle

to Congress’s effort to encourage websites to self-police third-party content on the


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internet. Am.Comp.¶¶117-28. Even if Florida could identify some hypothetical

scenarios where the challenged provisions would not obstruct §230’s objectives (and

it has not tried), the Eleventh Circuit has squarely held that obstacle preemption

arguments cannot be defeated by “conjur[ing] up … hypothetical factual scenario[s]

in which implementation of the state law would not directly interfere with federal

law.” Club Madonna v. City of Miami Beach, 42 F.4th 1231, 1256 (11th Cir. 2022).

And rightly so, as state laws can still “obstruct[] federal law” even if they “align[]

with federal objectives” in “some instance[s].” Id. at 1256.

      Rather than address those arguments, Florida focuses exclusively on

§230(c)(2), emphasizing that it protects only “good faith” decisions. MTD.33. But

this Court already recognized that the Act interferes with providers’ editorial

decisions across the board, regardless of whether they are taken in good faith. See

NetChoice, 546 F.Supp.3d at 1089-90. Florida claims that hypothetical applications

of some (but not all) provisions (in particular, S.B.7072’s restrictions on

“deplatforming”) may not interfere with websites’ ability to “restrict access to or

availability of material” that is “objectionable.” MTD.33. But even Florida’s

cherry-picked example is preempted. When covered services terminate or suspend

a user’s account, they have restricted access to third-party content that they deem

objectionable. See Murphy, 274 Cal.Rptr.3d at 370-71 (collecting cases holding that




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§230 prohibits liability for denying users access or deleting their accounts). That is

exactly what §230(c)(2) says they may not be held liable for doing.

      2. Florida’s attack on Plaintiffs’ vagueness claim is equally meritless.    The

consistency provision fails to provide a person of ordinary intelligence fair notice of

what is prohibited. The key statutory term (“consistent manner”) is “in no way

defined.”   Solomon v. City of Gainesville, 763 F.2d 1212, 1215 (11th Cir. 1985).

S.B.7072 does not provide even minimum guidance about how to interpret this

nebulous mandate, leaving covered providers to choose between risking

unpredictable and arbitrary enforcement (backed by penalties of $100,000 per

violation and punitive damages) or refraining from exercising their editorial

discretion. Indeed, this Court has already noted that this provision is “especially

vague,” which “presents heightened concern in a statute that, like this one, trenches

on First Amendment interests.”       NetChoice, 546 F.Supp.3d at 1095.        “In this

quintessential First Amendment area, the State may not hinge liability on a phrase

so ambiguous in nature.” Wollschlaeger v. Governor, 848 F.3d 1293, 1323 (11th Cir.

2017) (en banc).

      The state insists that the consistency provision “simply requires platforms to

enforce their policies as written and refrain from selective enforcement.” MTD.35.

How that helps, Florida does not explain. Imagine two posts containing the same

“threatening” language, where one is a direct comment and the other takes the form

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of song lyrics. Would it violate S.B.7072 to remove the former under the website’s

policy against threats, but not the latter? Would it be “consistent” for a website to

remove content posted by an ordinary citizen, but not the same content reposted by

a political candidate? See Fla. Stat. §501.2041(2)(h). Countless examples abound.

Florida’s belated effort to clarify the provision sheds no light on the endless real-

world choices that websites confront every day.

      S.B.7072’s definition of “post prioritization” is similarly vague. It covers any

“action by a social media platform to place, feature, or prioritize certain content or

material ahead of, below, or in a more or less prominent position than others in a

newsfeed, a feed, a view, or in search results.” Id. §501.2041(1)(e). What that means

is anyone’s guess. See NetChoice, 546 F.Supp.3d at 1095. By its terms, the

provision suggests that a search function cannot place content “by or about” a

political candidate ahead of—or below—any other content. Florida insists that the

provision (when read in light of other provisions) simply mandates that certain

content appear “chronologically.” MTD.35. But displaying posts “by or about

political candidates” chronologically would still require those posts to appear “ahead

of” or “below” other content, in seeming violation of the provision’s commands.

Florida’s attempt to clarify what it means only underscores its vagueness.




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      C.     Florida’s Argument About the Scope of Injunctive Relief Is
             Premature.

      Finally, Florida argues that “Plaintiffs fail to state a claim for injunctive relief”

on behalf of anyone other than Google, Meta, and X. MTD.37. That is an argument

about the appropriate scope of relief, not a basis for dismissing Plaintiffs’ claims.

“At the motion to dismiss stage, plaintiffs need not prove that they are entitled to

each form of relief sought, so long as they have adequately ple[d] the underlying

claim.” SRSNE Site v. Advance Coatings, 2014 WL 671317, at *2 (D. Conn. Feb.

21, 2014). So “the nature of the relief included in the demand for judgment is

immaterial to the question of whether a complaint adequately states a claim upon

which relief can be granted.” Charles v. Front Royal Volunteer Fire & Rescue Dep’t,

21 F.Supp.3d 620, 629 (W.D. Va. 2014); see Fed. R. Civ. P. 54(c). Florida’s argument

is thus premature.

                                   CONCLUSION

      The Court should deny Florida’s motion.




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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1
      This response in opposition to defendants’ motion to dismiss Plaintiffs’

amended complaint complies with Local Rule 7.1(F) because it has 8,000 words.

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing document

was electronically served on all counsel of record via the CM/ECF system on this

8th day of January, 2025.

                                          /s/ Douglas L. Kilby
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